             Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 1 of 39




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :     Case No. 21 CR 760 (CM)
          - against -                                                  :
                                                                       :
PUNEET DIKSHIT,                                                        :
                                                                       :
                               Defendant.                              :
                                                                       :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x



                       SENTENCING MEMORANDUM OF PUNEET DIKSHIT
            Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 2 of 39




                                               TABLE OF CONTENTS

                                                                                                                                      Page

       TABLE OF AUTHORITIES .............................................................................................. ii
I.     PRELIMINARY STATEMENT ........................................................................................ 1
II.    SENTENCING GUIDELINES ........................................................................................... 4
III.   MR. DIKSHIT’S PERSONAL BACKGROUND AND CHARACTER ........................... 5
       A.        Background ............................................................................................................. 5
       B.        Mr. Dikshit’s Steadfast Commitment to Family ..................................................... 7
       C.        Kind Acts and Good Deeds Punctuate Mr. Dilshit’s Life .................................... 12
       D.        Mr. Dikshit Has Remained Committed to Charitable Work and
                 Community Service Throughout his Life ............................................................. 16
IV.    THE 18 U.S.C. § 3553(a) FACTORS WEIGH IN FAVOR OF A NON-
       INCARCERATORY SENTENCE ................................................................................... 21
       A.        Mr. Dikshit’s Life and Character Support a Below-Guidelines Sentence ............ 21
       B.        Mr. Dikshit Does Not Pose a Risk of Recidivism ................................................ 24
       C.        Enhancements Related to Gain Amount Overstate the Seriousness of the
                 Offense .................................................................................................................. 27
       D.        The Collateral Consequences Mr. Dikshit Faces As a Non-Citizen Weigh
                 in Favor of a Non-Incarceratory Sentence ............................................................ 28
                 1.         Disparate Treatment .................................................................................. 29
                 2.         Deportation ............................................................................................... 31
V.     CONCLUSION ................................................................................................................. 34




                                                                   i
              Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 3 of 39




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Gall v. United States,
   552 U.S. 38 (2007) .....................................................................................................................5

Padilla v. Kentucky,
   559 U.S. 356 (2010) .................................................................................................................32

United States v. Canova,
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United States v. Chong,
   No. 13-CR-570, 2014 WL 4773978 (E.D.N.Y. Sept. 24, 2014)..................................28, 31, 32

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   394 F.3d 172 (3d Cir. 2005).........................................................................................21, 23, 24

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   829 F. Supp. 669 (S.D.N.Y. 1993), aff’d,
   31 F.3d 73 (2d Cir. 1994).........................................................................................................25

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   904 F. Supp. 2d 349 (S.D.N.Y. 2012)................................................................................27, 28

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   No. 16-CR-475-1 (NGG), 2018 WL 1997975 (E.D.N.Y. Apr. 27, 2018) ...............................28

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   307 F. Supp. 2d 270 (D. Mass. 2004) ....................................................................21, 22, 23, 24

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   740 F.3d 253 (2d Cir. 2014).....................................................................................................32

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   01-CR-410 (RWS), 2005 WL 992004 (S.D.N.Y. Apr. 14, 2005) .....................................26, 27

United States v. Yahaya,
   No. 18-CR-121, 2019 WL 6839945 (E.D.N.Y. Dec. 9, 2019) ................................................31


                                                                    ii
              Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 4 of 39




Sentencing Transcripts

United States v. Connolly,
   No. 16-CR-370 (S.D.N.Y. Nov. 4, 2019) ................................................................................32

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   09-cr-470 (VM) (S.D.N.Y. Sept. 17, 2009) .............................................................................26

Statutes & Rules

8 U.S.C. § 1226(a)(1) .....................................................................................................................30

8 U.S.C. § 1226(c)(1) .....................................................................................................................30

8 U.S.C. § 1227(a)(2)(A) ...............................................................................................................30

8 U.S.C. § 1326(a)(2) .....................................................................................................................31

18 U.S.C. § 3553(a) ............................................................................................................... passim

18 U.S.C. § 3624(c)(1) ...................................................................................................................30

United States Sentencing Guidelines

     U.S.S.G. ch.5, pt. D....................................................................................................................4

     U.S.S.G. § 1B1.1 ................................................................................................................22 n.2

     U.S.S.G. § 2B1.1 ..................................................................................................................4, 28

     U.S.S.G. § 2B1.4 ........................................................................................................................4

     U.S.S.G. § 3B1.3. .......................................................................................................................4

     U.S.S.G. § 3E1.1 ........................................................................................................................4

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                                                                     iii
           Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 5 of 39




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   https://www.srfnmimsmumbai.com/ (last visited March 14, 2022) ..................................19 n.1




                                                        iv
           Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 6 of 39




I.     PRELIMINARY STATEMENT

       We respectfully submit this memorandum on behalf of Puneet Dikshit, who is scheduled

to be sentenced by this Court on March 30, 2022. Mr. Dikshit is a non-violent, first-time

offender who pled guilty to one count of securities fraud, and accepted full responsibility for his

offense.

       At his plea hearing, Mr. Dikshit stated:

               Your Honor, I know what I did is wrong, and I knew it was wrong
               when I did it. While in New York, between July and September
               2021, I traded GreenSky securities in violation of a duty based on
               confidential and important information. I accept full responsibility
               for my actions. I deeply regret the impact my actions have had on
               my colleagues, my clients, my industry, and my family. I’m
               profoundly sorry.

Plea Tr. at 18:14-21 (Dec. 15, 2021) [ECF No. 11]. Mr. Dikshit entered his plea promptly after

his arrest on November 10, 2021.

       Mr. Dikshit’s individual characteristics – in particular, his deep and steadfast

commitment to and support of friends and family, and his extraordinary, hands-on charitable

works throughout his life – and the disparate circumstances he will face in light of his

immigration status and impending deportation militate in favor of a below-Guidelines sentence.

       Mr. Dikshit’s offense is an aberration in a life exemplified by hard work, compassion,

generosity, and family. Mr. Dikshit rose from humble beginnings in India through many years of

education and work in the financial sector to become a partner at McKinsey & Company. While

reaching those individual accomplishments, Mr. Dikshit consistently demonstrated his

generosity, kindness, and strength of character as a devoted and loving husband, father, son,

brother, and friend.

       Mr. Dikshit is a proud father of two young children, and a devoted husband to his wife,

Bhanushree (“Bhanu”). Mr. Dikshit has supported Bhanu’s dreams and career, encouraging her
          Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 7 of 39




to challenge herself professionally and to realize her own goals and ambitions. Despite the

demands of his job, Mr. Dikshit consistently made time for his two young children, setting aside

play time each night and sharing the parental day-to-day responsibilities of raising them. His

parents make clear that Mr. Dikshit is a devoted son, who returned to India numerous times to

support them in times of need, while maintaining a deep connection with them throughout his

life. Similarly, Mr. Dikshit is a caring brother to his sister, whom he visits frequently in Atlanta

and has assisted during times of financial and emotional need. Mr. Dikshit is also a loyal and

supportive friend, who has counseled and mentored many friends through professional and

personal challenges, devoting substantial time and energy to help them succeed and grow.

       Mr. Dikshit’s generosity and kindness extend well beyond his immediate circle. He has

devoted substantial time throughout his life to complete strangers. As a young boy growing up

in India, Mr. Dikshit and his father regularly volunteered to feed the homeless. That experience

imparted valuable life lessons about helping those less fortunate, which Mr. Dikshit has applied

throughout his life. For example, during business school in India during 2003, Mr. Dikshit

launched a student organization dedicated to raising funds for the underprivileged in India, with

a particular focus on the education of underprivileged girls so they could escape poverty. That

organization grew under Mr. Dikshit’s leadership into the largest student organization at the

university, helping raise funds for countless individuals, and remains vibrant today. While

working for Citibank in India after graduation, Mr. Dikshit spent time each week over many

years travelling to the poorest neighborhoods in Mumbai to teach and mentor young students, the

majority of whom were underprivileged girls. Collectively, Mr. Dikshit’s charitable work

touched the lives of thousands of students, many of whom went on to obtain college educations,

in part because of the strong educational foundation Mr. Dikshit helped provide. Since coming




                                                  2
            Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 8 of 39




to the United States, Mr. Dikshit has remained committed to helping the poor by donating money

to charities and by imparting the lessons he learned from his father about feeding the homeless to

his young daughter. He is also working with his father to build a school for underprivileged

children in his hometown in India.

       The Court should also consider the consequences of Mr. Dikshit’s conviction in light of

his non-citizen status. Though Mr. Dikshit has lawfully resided in the United States for over a

decade, he will be treated differently than an otherwise identical defendant who is a United

States citizen. Mr. Dikshit will serve a longer portion of any period of incarceration in prison

because non-citizens are ineligible for early release programs. Moreover, because Bhanu’s

residency status is contingent on Mr. Dikshit’s visa, she and their two children—who are both

United States citizens—will need to move back to India. As a result, Mr. Dikshit will likely not

be able to see his immediate family during a term of incarceration. Prior to his deportation, Mr.

Dikshit will also likely be detained by U.S. Immigration and Customs Enforcement (“ICE”),

which would prolong any incarceration. The consequences Mr. Dikshit faces because of his

immigration status should be considered at sentencing, and further support a below-Guidelines

sentence.

       In light of all the circumstances, applicable sentencing factors, and case law, we

respectfully submit that the Court should impose a non-jail sentence, which we submit is

sufficient, but not greater than necessary, to achieve the sentencing purposes of section 3553(a).

After conducting its investigation and evaluation of Mr. Dikshit and the applicable sentencing

factors, the Probation Office similarly recommended a sentence of time served (one day), a two-

year term of supervised release. Presentence Investigation Report (“PSR”) (March 8, 2022)

[ECF No. 16] at 27–28.




                                                 3
          Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 9 of 39




II.     SENTENCING GUIDELINES

        Under the United States Sentencing Guidelines (the “Guidelines” or “U.S.S.G.”),

sentencing for insider trading cases is calculated under U.S.S.G. § 2B1.4(a). Under that section,

Mr. Dikshit’s base offense level is eight. Under § 2B1.4(b)(1), courts are directed to the loss

table in § 2B1.1 to determine the number of enhancements that apply according to the amount

gained as a result of the offense. In this case, 12 levels are added because the gain amount

($455,017) is between $250,000-$500,000. See U.S.S.G. § 2B1.1(b)(1)(G)). Two levels are

added because the offense conduct involved an abuse of a position of trust. See U.S.S.G. §§

3B1.3 and 2B1.4 cmt. application. Additionally, Mr. Dikshit is entitled to a two-level reduction

because he has accepted responsibility for his offense. U.S.S.G. § 3E1.1(a). Further, another

one-level reduction is warranted because Mr. Dikshit “has assisted authorities in the

investigation or prosecution of his own misconduct by timely notifying authorities of his

intention to enter a plea of guilty.” U.S.S.G. § 3E1.1(b). Applying these enhancements and

reductions, the total offense level is 19.

        Because Mr. Dikshit has no criminal history, he falls into Criminal History Category I.

See U.S.S.G. § 4A1.1. When combined with an offense level of 19, Mr. Dikshit’s Guidelines

range is 30 to 37 months. See U.S.S.G. ch.5, pt. D. Mr. Dikshit has stipulated to this Guidelines

range calculation. PSR ¶ 4(h).

        After conducting its investigation and evaluation of Mr. Dikshit and the applicable

sentencing factors, the Probation Office recommended a below-Guidelines sentence:

                It is respectfully recommended that the defendant be sentenced to
                Time Served (one day). A two-year term of supervised release is
                recommended to allow the probation office to monitor the
                defendant while in the community and also monitor the payment of
                any imposed fine. . . . [T]he Government has reported that the
                victims in the case are not pursuing restitution. Thus, restitution is



                                                  4
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 10 of 39




               not being recommended. Since restitution is not being
               recommended, and based on the defendant’s known financial
               resources, a $20,000 fine is recommended.

PSR at 27.

III.   MR. DIKSHIT’S PERSONAL BACKGROUND AND CHARACTER

       When sentencing a defendant, courts must consider “the history and characteristics of the

defendant.” 18 U.S.C. § 3553(a)(1). This includes analyzing the background, character, and

conduct of the defendant to “make an individualized assessment based on the facts presented.”

Gall v. United States, 552 U.S. 38, 50 (2007).

       Mr. Dikshit’s life and character weigh strongly in favor of a non-Guidelines sentence.

Since he was just 12 years old, Mr. Dikshit has consistently engaged in hands-on charity work,

helping underprivileged members of his Mumbai community. Throughout his life, he has

performed selfless acts of kindness for family, friends, and strangers alike. Additionally, Mr.

Dikshit is a dedicated father and husband, who prioritizes family above all else.

       Vijayprakash (“Vijay”) Dikshit, his father, summarizes Mr. Dikshit’s character best:

               Despite his successes, he has always been humble and not just
               willing to help, but also seeking out ways to help. . . . His devotion
               to his family, service to the community, his hard work, his
               kindness, not just in words but in deeds, his commitment to help
               everyone, are the traits by which I know my son.

Exhibit A, V. Dikshit Ltr. at 2-3.

       A.      Background

       Mr. Dikshit was born in 1981 in Mumbai, India, where he grew up with his parents, Vijay

and Sudha Dikshit, and older sister, Nidhi. Mr. Dikshit spent his entire childhood there,

excelling academically while participating in community activities with his temple. PSR ¶ 85.

In 1990, Mr. Dikshit began his college education at Sydenham College of Commerce &

Economics, remaining in Mumbai. PSR ¶ 98. There, he met his future wife, Bhanu, who was


                                                 5
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 11 of 39




also studying business. PSR ¶ 88; Exhibit B, B. Mehra Ltr. at 1. The two formed a strong

partnership early on, pushing each other to succeed academically as they both endeavored to start

careers in the business world. In 2003, Mr. Dikshit earned his bachelor’s degree and won the

Samsika Award for Excellence in Education, which was given to the best student in the

Sydenham College. PSR ¶ 98; Exhibit B, B. Mehra Ltr. at 1.

       After graduating college, both Mr. Dikshit and Bhanu pursued post-graduate educations.

The two remained in Mumbai, each attending different business schools. Mr. Dikshit began a

Master’s program at NMIMS, continuing to perform at the top of his class and earning a position

at Citibank by the time be graduated in 2005. Exhibit B, B. Mehra Ltr. at 1. Throughout the

next four and a half years, he worked hard to move up through the ranks at Citibank, but began

to realize that he needed a U.S. education if he wanted to move his career beyond courier

banking in India. Looking toward the future, Mr. Dikshit proposed to Bhanu, who happily

accepted, and started making plans to pursue his career and start a family in the United States.

       In 2011, Mr. Dikshit began an MBA program at University of Michigan’s Ross School of

Business, tutoring his peers to help finance his education. Exhibit B, B. Mehra Ltr. at 1; Exhibit

C, D. Kamath Ltr. at 1. The next summer, he and Bhanu married. She also started an MBA

program in the United States, but at New York University. Though they were hundreds of miles

apart, the two made time to see each most weekends. Exhibit C, D. Kamath Ltr. at 2. And when

Mr. Dikshit graduated in 2013, he joined Bhanu in New York and began working as an associate

at McKinsey. PSR ¶ 102. At McKinsey, Puneet was consistently given the highest rankings as a

leader and quickly rose through the ranks at McKinsey, even as he grew his family. Mr. Dikshit

and Bhanu had their daughter in 2018 and Mr. Dikshit became a partner in November 2019. Just

a year later, Mr. Dikshit and Bhanu had their son.




                                                 6
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 12 of 39




       B.      Mr. Dikshit’s Steadfast Commitment to Family

       Mr. Dikshit is a devoted family man. His, wife, Bhanu, best summarizes Mr. Dikshit’s

dedication to his family, explaining, “Puneet’s singular focus in all that he has ever done is to

provide for and support his family. Every responsibility he has shouldered of being a son,

brother, husband, father, and friend has been with unparalleled sincerity, compassion and loyalty.

As an immigrant, he has persevered to achieve and allow his family to live the American dream.”

Exhibit B, B. Mehra Ltr. at 2-3.

       Mr. Dikshit has been a pillar of support for Bhanu, who he has been with for over twenty

years. Since meeting each other as students, the two have maintained a strong partnership,

helping each other grow their careers and family. Bhanu describes the ways Mr. Dikshit enabled

her to break out from the role of homemaker that Indian women traditionally assume:

               Getting married, moving to a new country and starting life as a
               young immigrant couple in New York was all it promised to be for
               us. We made ourselves a small home and I found myself traveling,
               enjoying the city, and living a life I had only dreamed of. While
               my family believed in making sure I was educated and could
               support myself financially if required, I can fairly say that they
               were never truly ambitious for me professionally. Puneet had just
               started a new job after his MBA at a leading consulting firm and I
               found myself getting comfortable with the thought of playing the
               role of a homemaker, looking forward to growing my family and
               supporting Puneet as he progressed in his career. It was the easy,
               comfortable choice to make, one that I had seen women in my
               culture and family make. Everyone I knew assumed that once
               Puneet had found a job, there was really nothing more I was
               required to achieve for myself professionally or financially.

               As soon as we had settled in New York, Puneet was the only
               person in my life who turned this thought process on its head for
               me. He pushed me hard to dream bigger, to create choices for
               myself and achieve my full potential. He urged me to prepare for
               my GMAT, researched MBA programs, and made me believe that
               I could do so much more professionally. I have only Puneet to
               thank for the professional path and financial independence I can
               claim as mine today.



                                                7
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 13 of 39




Exhibit B, B. Mehra Ltr. at 2. Mr. Dikshit’s contributions to their marriage go far beyond

helping Bhanu succeed professionally. Manjari, a friend of the couple, attests to Mr. Dikshit’s

devotion to Bhanu:

               The love and care Puneet bestows on his friends is amplified
               several times more for his family. Anyone who has spent a few
               minutes in their company, can attest to how much Puneet dotes on
               and cares for his wife. From the smallest decisions like picking a
               restaurant for dinner to deciding where to live, and performing
               most of the household chores, Puneet has always prioritized his
               wife’s needs, wishes and happiness over his own.

Exhibit D, M. Sharda Ltr. at 1.

       In addition to being a devoted husband, Mr. Dikshit is an exceptional father to his four-

year-old daughter and 20-month-old son. As Bhanu explains:

               With the birth of our daughter in May 2017, I witnessed Puneet
               evolve into a man with increased patience and compassion, and
               truly watched his heart grow with his children. I have always
               known him to be a man of remarkable focus with a job at hand and
               saw this translate even into play times with the children.

Exhibit B, B. Mehra Ltr. at 3. A friend, Dishank, recounts visiting Mr. Dikshit in New York,

commenting that “it was fascinating to see Puneet mature into such a caring, loving, and doting

father and husband.” Exhibit C, D. Kamath Ltr. at 2.

       Mr. Dikshit’s friends uniformly agree that he is a doting and loving father. On friend,

Rahul, writes, “I’ve seen Puneet actively, and happily, participate in every aspect of raising a

child. No surprise that both children are extremely attached to him.” Exhibit E, R. Nath. Ltr. at

2. Another friend, Pinak, also notes the many ways Mr. Dikshit is involved as a father.

“Culturally, Indian men are not as involved with parenting as much as their wives. But Puneet is

involved in everything from feeding the babies, cooking food for them, changing nappies,

putting them to bed, and calming them down during meltdowns.” Exhibit F, P. Deshpande. Ltr.

at 3. Manjari concurs:


                                                 8
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 14 of 39




               Puneet is also such a loving dad to his two beautiful kids, one can
               easily see that he derives tremendous pleasure from watching his
               children grow, learn and try new things. He has often turned down
               Saturday brunches with friends as he prioritized taking his
               daughter to the park or on playdates. He has meticulously planned
               their birthday parties and ensured that they always had the biggest
               smile on their faces. The love the children feel for their father can
               be witnessed by the excitement and joy with which they run to hug
               him whenever he comes back from work or how they constantly
               cling to him when he’s around.

Exhibit D, M. Sharda Ltr. at 1.

       Mr. Dikshit’s involvement as a father goes beyond ordinary care. As Pinak explains,

“Puneet’s involvement as a parent, not just in taking care of his children, but also in stimulating

their imaginations while playing with them, shows how profoundly he loves his kids.” Exhibit F,

P. Deshpande. Ltr. at 3. Bhanu describes the ways her husband engages their daughter’s

creativity and imagination while they play together:

               Puneet spends hours ahead of playtime, putting together clues—
               creative rhymes and small puzzles—on little post-it notes around
               the house for a “treasure hunt” for our daughter. This was their
               favorite activity during Covid, and I found it amazing, all the time
               and effort he took to keep our daughter engaged and learning as he
               taught her the value of “earning” her treasure and not just handing
               it to her.

Exhibit B, B. Mehra Ltr. at 3. Mr. Dikshit’s father describes his son as a “responsible and

nurturing father.” Exhibit A, V. Dikshit Ltr. at 3. He writes:

               Even when [Puneet] has had a long busy day, he spends multiple
               hours with his kids each evening, playing with them, creating
               treasure hunts, painting, reading to them, and putting them to bed.
               He has been a great father not just by spending quality time with
               his kids, but also ensuring that he teaches them values that are
               important to him - gratitude, empathy, kindness, honesty.

Exhibit A, V. Dikshit Ltr. at 3.

       Mr. Dikshit also maintains a deep connection with immediate and extended family as

well as long-distance friends. Mr. Dikshit’s sister, Nidhi, writes, “Puneet has been the rock-solid


                                                 9
            Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 15 of 39




pillar in making sure all the family members are together through thick and thin of every

situation and has been there to help every inch of the way – emotionally, financially and

physically.” Exhibit G, N. Dikshit Ltr. at 2. She explains that “[d]espite being younger, he

always took care of me as an elder brother would,” (N. Dikshit Ltr. at 1), and recounts the help

Mr. Dikshit provided when she had just moved to the United States and was struggling to get on

her feet:

                Once in the United States, I had a tough time initially getting
                acclimated to the environment both personally and professionally.
                Additionally, I always had doubts about my career choices, and I
                had to start understanding the work culture here. Puneet clearly
                outlined and helped me prepared for all the opportunities that came
                my way and made sure that I was successful.

Exhibit G, N. Dikshit Ltr. at 1-2. When she and her husband were struggling financially, Mr.

Dikshit did not hesitate to help:

                My husband and I faced severe financial hurdles in 2014 and 2015
                due to a number of personal reasons. Puneet was there to not only
                offer financial assistance but also to help us prepare to become
                financially independent. He paid our mortgage and other home
                expenses as we started building out own finances together. This
                continued for more than a year while he had to manage his own
                family.

Exhibit G, N. Dikshit Ltr. at 2.

        Mr. Dikshit takes an active role in his nephews’ lives too, despite living several hundred

miles away. Nidhi describes how her brother is a role model for her two sons, who adore and

admire their uncle:

                For [my kids], Uncle Puneet is their world. . . . Puneet has been
                directly or indirectly connected to every shred of happiness and joy
                for my sons, who are now ages 10 and 7. Whether it was giving
                them their first bikes, puzzles, toys, sophisticated games, tips to
                excel at studies or general conversations about relevant topics. . . .
                Puneet has been a role model in my kids’ lives. I realized the
                impact he has on them when my 10-year-old son chose to wear a
                University of Michigan jersey during College week at his school.


                                                 10
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 16 of 39




Exhibit G, N. Dikshit Ltr. at 2.

       Mr. Dikshit maintains a close relationship with his parents as well. In times of need, he

provides unwavering support. As Mr. Dikshit’s father, Vijay explains: “I am a cancer survivor,

and my wife has had multiple health issues and Puneet has always been there for us during these

hard times.” Exhibit A, V. Dikshit. Ltr. at 2-3. Bhanu recalls:

               Never one to ignore his responsibilities towards his family, Puneet
               has always been there for his family despite the 16-hour distance
               by air. I distinctly remember in 2019, when his mother was
               undergoing an emergency hysterectomy back home in Mumbai,
               India, Puneet was by her bedside within a day. Despite the
               distance and 12-hour time difference, he cared for her during the
               day and worked from the hospital at night. All this while, he
               would check in on me and our toddler, who were in New York.

Exhibit B, B. Mehra Ltr. at 2. Puneet’s father describes the deep connection they share despite

living on different continents:

               Puneet has always been a very caring son and we are very close
               knit as a family. Despite the over 10-hour time difference we talk
               on the phone multiple times a week and Puneet has made sure that
               our grandchildren also feel connected to us through video calls 2-3
               times a week. We visit the U.S. every year and stay with Puneet
               in his home in New York for two to three months. This has
               ensured that we stay close and connected as a family and Puneet
               has always taken care of us exceptionally well.

Exhibit A, V. Dikshit Ltr. at 2.

       Mr. Dikshit also maintains close relationships with friends who live many miles away,

providing them with a home away from home. Dishank recalls how Mr. Dikshit kept their friend

group together after graduating from the Ross School of Business: “Once we graduated, we all

got different jobs in different cities, but were in constant touch as a close group of friends. More

often than not it was Puneet who would bring us together through social media group discussions

– folks’ birthdays, anniversaries, life milestones, etc.” Exhibit C, D. Kamath Ltr. at 2. One

friend, Pratishtha writes:


                                                 11
           Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 17 of 39




               Pinak and I don’t have family in the United States, so Puneet
               always made sure to plan meet-ups and annual holiday visits, even
               though we live in different cities and states. Since 2014, we have
               celebrated almost all Thanksgiving holidays together, even after
               having kids. Earlier it was just an American holiday with a long
               weekend for me, but over the years it became meaningful. I look
               forward to Thanksgiving each year to be with my American
               family.

Exhibit H, P. Mishra Ltr. at 2.

       C.      Kind Acts and Good Deeds Punctuate Mr. Dilshit’s Life

       The letters submitted on Mr. Dikshit’s behalf reveal a man who is kind, generous, and

caring. Each writer attests to some way Mr. Dikshit has offered support or counsel when most

needed, showing the multitude of ways Mr. Dikshit has uplifted those around him. The letters

describe a life marked by acts of kindness and make clear that Mr. Dikshit’s compassion extends

to all people he encounters.

       Pratishtha explains Mr. Dikshit’s caring and generous nature, describing the first time she

met him:

               I met Puneet in February 2013 at the Detroit airport on my very
               first day in the United States. This was my first trip away from
               home in India and I was more nervous than excited to enter this
               new phase of my life. . . . Puneet greeted us warmly and with a big
               smile he said, “Welcome to America!” He had also brought me a
               warm jacket, gloves, and a hat. That was Puneet.

Exhibit H, P. Mishra Ltr. at 1. Another friend, Varun, describes when he first met Mr. Dikshit as

a business student:

               After 11 years of first meeting Puneet, the reason I still vividly
               remember our encounter on the first day of college is because of
               his uncommon generosity and kindness. As an anxious newcomer
               who had just moved continents, I had no friends when I started the
               MBA program at the University of Michigan. As I sat down for a
               lonely lunch, I heard Puneet call out my name asking if he could
               join. And it wasn’t just him, but also some of his other friends
               who he wanted to introduce me to. He did this with no reciprocal
               expectation - I was, after all, a total stranger, and he already had


                                                12
            Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 18 of 39




                  company for lunch. But Puneet’s act of empathy changed the way
                  I would experience Michigan—with optimism instead of anxiety,
                  in the company of friends rather than alone.

Exhibit I, V. Garde Ltr. at 1. Siddhi, a friend who met Mr. Dikshit when he lived in New York,

recalls:

                  I met him through a friend of mine who was visiting New York for
                  a few days at the time. Since I was new in the city and didn’t
                  know a lot of people, my friend encouraged Puneet and his wife to
                  invite me and my husband over for a holiday party. I didn’t think
                  much of it at the time but was highly appreciative of him when he
                  not only invited us over, but also graciously opened up his home
                  and his circle of friends to us. I remember him saying, “my friends
                  are your friends.” I admired the genuine warmth and
                  thoughtfulness of that gesture. It’s not often you see such kindness
                  from a stranger and that immediately struck a chord with me. In
                  that moment he was polite, kind and gracious and in the few years
                  that I’ve known him since, none of that has changed.

Exhibit J, S. Chugh Ltr. at 1.

           As a student, Mr. Dikshit was well known for his academic accolades, but always carved

out time to help others. During his MBA program, he quickly gained a reputation as someone

who knew how to succeed in the business world. Even in a hyper-competitive environment, Mr.

Dikshit was always willing to lend a helping hand to friends and strangers alike. Pinak, Mr.

Dikshit’s business school friend, explains how Mr. Dikshit went to great lengths to help him find

a job:

                  Puneet went out of his way to help me in every way he could. Our
                  business school would host an annual marketing and tech fair
                  called the Marketing Symposium where companies would come in
                  and host a job fair. Though he had no interest in marketing, he
                  registered for the symposium and attended the job fair just to help
                  me get a job. He walked around and joined in conversations with
                  prospective employers, calling me over to introduce me to them.
                  He spent almost two hours talking to companies he had no
                  intention of working for, either extracting snippets about them
                  which he would later tell me so that I could strike up a
                  conversation or introducing me as a “tech-star” to new contacts to
                  bolster my professional reputation. Puneet’s help resulted in three


                                                  13
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 19 of 39




               interview calls for me, after which I landed an internship offer. He
               had nothing to gain from this endeavor, except the need to help a
               friend.

Exhibit F, P. Deshpande. Ltr. at 1.

       At school, mentoring became a role Mr. Dikshit embraced:

               Having secured offers from all the top-tier consulting firms quite
               early on in the process, Puneet dedicated the rest of his time at
               Ross in helping others secure their job offers. He spent countless
               hours conducting mock-interviews, hosting seminars and group
               sessions, and helping everyone who would come to him for
               assistance with improving their interviewing and case-solving
               capabilities. I personally know eight people who Puneet has
               directly helped in converting their first- or second-round interviews
               into concrete internship and job offers. Puneet was so well known
               that when the class of 2014 came in, new students would randomly
               walk up to him and ask for advice – and not a single one of them
               was denied his time. We would be sitting together having coffee
               or a general chat, and a group of 5-6 people would run to him for
               advice. It became a running joke among our friend group where
               we started affectionately calling him “Baba” – a colloquial Indian
               term for a “Guru.”

Exhibit F, P. Deshpande. Ltr. at 2.

       This theme resonates throughout every letter sent on Mr. Dikshit’s behalf. His friend,

Dishank, describes Mr. Dikshit’s personal involvement in uplifting other students at the Ross

School of Business:

               In the second year of business school, I was surprised that Puneet
               still had a very busy schedule. Most of us had job offers and were
               exploring different classes or involved in social and school club
               activities. However, Puneet was focused on giving back to the
               school community. He spent most of his time helping first year
               students with their consulting job interviews preparation. His
               calendar was always booked from 7am-9pm, helping as many
               students as he could.

Exhibit C, D. Kamath Ltr. at 1. Another friend, Eduard, also describes the ways
Mr. Dikshit helped him succeed in his job search during their time at Ross
together:




                                                14
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 20 of 39




                Despite competing for the same positions, Puneet was a
                tremendous help in this process, offering advice on how to
                improve my interview approach, and taking time to coach me via
                mock interviews. I saw him do the same with several of our
                classmates. This extended out to other projects and assignments,
                where I knew I could turn to Puneet for support, and he would
                never hesitate to offer guidance or a unique perspective.

Exhibit K, E. Mikinberg Ltr. at 1.

        Mr. Dikshit continued to help others in the professional world, offering his counsel and

support. Another friend, Manjari, describes how Mr. Dikshit’s helped her navigate her

professional life:

                Being a woman in the male-dominated technology industry, I
                frequently sought Puneet’s advice on how to navigate professional
                challenges. I have never regretted following his advice as it has
                always worked for me. He’s taught me how to think strategically
                and navigate corporate bureaucracy. Whenever I had a job
                interview, Puneet would help me prepare with mock interviews.
                He was always very patient and eager to help despite his hectic
                work schedules.

Exhibit D, M. Sharda Ltr. at 1.

        Mr. Dikshit’s acts of kindness extend far beyond helping his peers succeed

professionally. He has consistently offered a helping hand when he has learned others—even

strangers—are in need. His father explains:

                Once Puneet started his professional life, we saw his generosity
                blossom further. He has helped so many people and made such a
                tremendous impact in their lives. One early example is from 2005,
                when Puneet had just started working. He heard about how the
                mother of one of my junior associates was seriously ill and
                couldn’t afford any treatment. Puneet immediately offered to pay,
                and she survived and went on to live for many more years. This
                was almost equivalent to one month of Puneet’s salary at that time
                and my associate just could not express his gratitude.

Exhibit A, V. Dikshit Ltr. at 2. Vijay recalls a number of other instances where Mr. Dikshit

offered support to others:



                                                15
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 21 of 39




               When Puneet found out that our house help’s wife had breast
               cancer, he proactively paid for her very expensive surgery and
               even their household expenses. When he learned about how the
               young children of our gardener were not receiving high-quality
               educations, he immediately provided financial assistance. When
               our apartment complex’s security guard’s home was devastated
               during floods, Puneet again provided financial support
               immediately and proactively.

Exhibit A, V. Dikshit Ltr. at 2.

       The letters of support show that kindness is just in Mr. Dikshit’s nature and provide

numerous examples of times he has gone out of his way to help others. For example, Pinak

recounts:

               Once when my mother-in-law was flying to the United States for
               the first time, there was a chance her layover flight could be
               cancelled, requiring her to wait in a foreign airport alone for over
               12 hours. My wife and I happened to mention this to Puneet, who
               insisted on picking up my mother-in-law at Newark Airport,
               driving her to his home in Manhattan so she could rest, and driving
               her back to the airport. Puneet ensured that my wife and I were at
               peace knowing my mother-in-law would be safe and in good
               company.

Exhibit F, P. Deshpande Ltr. at 2.

       D.      Mr. Dikshit Has Remained Committed to Charitable Work and Community
               Service Throughout his Life

       Mr. Dikshit has maintained a deep commitment to charitable work and community

service throughout his life. Indeed, Mr. Diksit has always gone out of his way to help others,

even as he focused on attaining academic and professional success. He has poured time, energy,

and heart into uplifting others and bettering his community throughout his entire life.

       Mr. Dikshit’s community service started at an early age, when he began volunteering to

help the homeless people who gathered near his temple. At just 12 years old, Mr. Dikshit began

a weekly ritual of donating food to the temple with his father, sometimes donating an entire

day’s worth of food. Once a quarter, he would serve food to the homeless members of his


                                                16
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 22 of 39




community, speaking with them to understand what brought them to that place in life. As

explained by Mr. Dikshit’s father, Vijay:

               Puneet’s acute awareness of the needs of those less privileged than
               him and his desire to help them in every way he can has been an
               integral part of who Puneet is. Growing up, Puneet and I used to
               go to the temple each week to donate to and feed the homeless. . . .
               [M]y wife and I made it a point to teach both our kids about
               gratitude, privilege, equality, and the obligation to help those in
               need. These values were not just taught, but practiced by us and
               our kids, and the weekend work with the homeless was just a small
               part of imbibing these.

Exhibit A, V. Dikshit Ltr. at 1. As Mr. Dikshit formed relationships with the homeless in his

community, he learned not to judge others for their circumstances. Mr. Dikshit continued his

volunteer work at the temple for eight years. He continued to serve food to homeless members

of his community through high school and college, only stopping after his family moved away

from the temple when he was 20 years old.

       Mr. Dikshit continued to help underprivileged members of his community as a business

student at NMIMS, forming the Social Responsibility Forum (“SRF”) in his first year of school.

The SRF was an organization dedicated primarily to raising funds for the Akanksha Foundation,

a charitable organization in India that helps underprivileged girls obtain education in India.

Bhanu explains that, “[o]ne of the causes most dear to [Puneet] has been to enable education for

underprivileged girls in India. Culturally, many poor families do not send their girls to school in

India.” Exhibit B, B. Mehra Ltr. at 1. Recognizing the importance of high-quality education in

his own life, Mr. Dikshit made it a priority to help the least fortunate members of the community

obtain access to the same opportunities. Vijay recalls his son’s work with the SRF, explaining

that “[a]side from winning several accolades, [Puneet] started one of the leading student-led non-

profits called the Social Responsibility Forum. SRF focused on enabling education for

underprivileged girls that functions to this day.” Exhibit A, V. Dikshit Ltr. at 1.


                                                 17
            Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 23 of 39




       As co-founder and president of SRF, Mr. Dikshit devoted substantial time to planning

events to raise money for underprivileged members of his community in India. Mr. Dikshit’s

fundraising efforts were devoted not only to helping young Indian girls obtaining educations, but

also to helping others in his broader community. Ravi, Mr. Dikshit’s brother-and-law and friend,

explains:

                While SRF had initially focused on a wider array of issues facing
                the community (e.g., homelessness, health benefits for the
                underprivileged), by the second year of his Master’s program,
                Puneet had narrowed SRF’s focus on the education of
                underprivileged girls. Educating young girls is still a rarity in
                many poorer communities in India, not just due to financial
                limitations but also cultural issues.

Exhibit L, R. Mehra Ltr. at 1. At school, Mr. Dikshit “leverage[d] his relationship with the

Social Responsibility Forum, a student non-profit he founded in graduate school, to organize

events like clothes and toy donation drives, blood donation drives, mentor-a-child initiatives, and

annual festivals.” Exhibit B, B. Mehra Ltr. at 2. The time and effort Mr. Dikshit invested in

SRF paid dividends. In his two years at NMIMS, “[h]e raised significant amounts of money for

this cause, enlisting leading Indian companies as sponsors by leveraging his professional and

personal relationships, collectively raising approximately $150,000 over a three-year period,

which is a significant amount in India.” Exhibit B, B. Mehra Ltr. at 2. “The work [Puneet] did

with SRF, especially the focus on education of underprivileged girls, has had a lifelong impact

on over 1,500 children.” Exhibit A, V. Dikshit Ltr. at 1.

       Mr. Dikshit was essential to SRF’s exponential growth and continuing success. When

founding the SRF, Mr. Dikshit envisioned an organization that would continue to support the

least fortunate members of his community long after he graduated. As its leader, Mr. Dikshit

spent many hours recruiting new members to grow the club into a sustainable pillar NMIMS.

Mr. Dikshit’s efforts growing SRF resulted in resounding success. Ravi explains that, “Puneet


                                                18
            Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 24 of 39




was clearly extremely passionate about this topic and mobilized and inspired over 300 SRF

student members to raise funds.” Exhibit L, R. Mehra Ltr. at 1. In just two years, Mr. Dikshit

helped the organization expand from the two founding members to a prominent organization

encompassing over half of the student body. One friend, Saurabh, explains: “In the two years

since founding SRF, it had already become the largest student club on campus with events,

fundraising drives, sponsors, and a large pool of students who carried on and handed down

Puneet’s legacy.” Exhibit M, S. Gupta Ltr. at 1.

        Even as he began his career, Mr. Dikshit continued his hands-on role in helping

underprivileged girls in his community receive educations. After graduating, he continued his

involvement in SRF to ensure that it would remain an important pillar in his community. Ravi

explains:

                When I joined NMIMS University in 2007, SRF was the largest
                student-led non-profit in the state, and Puneet was still involved as
                a mentor to the organization. On weekends, he would continue to
                spend time in poor neighborhoods, joining student classes,
                speaking to parents, and even helping engage with sponsors. SRF,
                and Puneet’s commitment, has resulted in more than 1,500 girls
                graduating high school from programs supported by SRF.

Exhibit L, R. Mehra Ltr. at 1. SRF remains an integral part of NMIMS today.1 Mr. Dikshit has

continued to support the Akanksha Foundation since graduating in 2005, donating every year.

“Enabling children to receive education has been a consistent value across all these years for

Puneet, and he has personally contributed thousands of hours and almost a hundred thousand

dollars to this cause in the last 15 years.” Exhibit B, B. Mehra Ltr. at 2.

        Additionally, during the four years he worked for Citibank after graduating from

NMIMS, Mr. Dikshit volunteered as a teacher for underprivileged girls ages 8 to 12 on


1
 See Social Responsibility Forum of SBM, NMIMS Mumbai, https://www.srfnmimsmumbai.com/ (last visited
March 14, 2022).


                                                   19
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 25 of 39




weekends. As Bhanu recounts: “Puneet used to visit underprivileged areas in Mumbai for

weekend classes to teach math and English to young children and girls for several years. In

addition to spending 6-8 hours each week volunteering to teach, Puneet also spent this time on

mentoring and being a role model for the children.” Exhibit B, B. Mehra Ltr. at 1-2. As a

volunteer teacher, Mr. Dikshit would help the primary teacher with whatever the lesson plan was

for that day, lecturing a class of 35 to 40 girls about a different topic. He would make it a point

to connect with the girls after class, chatting to them about his career and providing them with a

role model. Bhanu describes the effect Mr. Dikshit’s volunteer work had in his community:

“The impact that Puneet had in the lives of these kids was truly transformative. Several

hundreds of the children he worked with through SRF and subsequently through volunteer

teaching are now in college and pursuing advanced degrees.” Exhibit B, B. Mehra Ltr. at 3.

       Today, Mr. Dikshit continues to champion education for the less fortunate back in

Mumbai even from across the globe. He and his father are working together to build a school for

underprivileged children in their hometown back in India. Vijay describes their joint efforts:

               For years, we had been discussing how the primary school in my
               ancestral hometown was in very bad shape and children studying
               there were deprived of basic facilities. Puneet suggested that we
               form a trust to build a new school with a capacity of 100 students
               and provided the seed funds to build the trust. He laid out the
               annual plan, helped scout for locations, outlined the management
               model, and corralled other family members and contributors to get
               engaged. Puneet has helped raise approximately $20,000 in India
               and, through his efforts, we are already in the process of starting to
               build this vision that we have shared for many years.

Exhibit A, V. Dikshit Ltr. at 2.

       Mr. Dikshit imparts the same values of selflessness and compassion that he learned as a

child onto his own children, renewing the same ritual of feeding the homeless every week that he

had with his own father. Bhanu describes how he has already begun to make charitable work a



                                                 20
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 26 of 39




staple in his children’s lives: “Puneet has tried to ensure he passes the same values to our

children, reminding them of other children in the world who do not have access to clean water or

a wholesome meal. On the way to school drop off, once a week, Puneet has our daughter choose

breakfast sandwiches to offer to the homeless outside St. Bartholomew's Church in midtown

New York.” Exhibit B, B. Mehra Ltr. at 3. This practice helps his daughter understand the

importance of giving back, and ensures that community service becomes a multi-generational

tradition in the Dikshit family.

IV.    THE 18 U.S.C. § 3553(a) FACTORS WEIGH IN FAVOR OF A BELOW-
       GUIDELINES SENTENCE

       A.      Mr. Dikshit’s Life and Character Support a Below-Guidelines Sentence

       We respectfully submit that Mr. Dikshit’s charitable work and good deeds support a

below-Guidelines sentence. See United States v. Mehta, 307 F. Supp. 2d 270, 270, 284 (D.

Mass. 2004) (issuing a probationary sentence to a white-collar defendant who facilitated the

practice of his ancient religion in his area and provided personal support to many members of his

community). Mr. Dikshit’s charitable acts have involved “hands-on” work and “sacrifice[s] of a

personal nature” that are distinguishable from the impersonal work performed by other white-

collar defendants. United States v. Cooper, 394 F.3d 172, 177 (3d Cir. 2005) (affirming a non-

incarceratory sentence for a defendant who mentored young boys and created a youth athletic

organization in his community).

       Cases like Mr. Dikshit’s have resulted in significant below-Guidelines sentences. In

United States v. Canova, the Second Circuit affirmed a trial court’s downward departure from a

Guidelines sentence based on the “exceptional degree of Canova’s public service and good

works.” 412 F.3d 331, 358-59 (2d Cir. 2005), remanded in part on other grounds, 2005 WL




                                                21
           Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 27 of 39




6051354 (D. Conn. Nov. 10, 2005).2 In that case, the district court determined that the

Guidelines range was 15 to 21 months following a guilty jury verdict for Medicare fraud, but

imposed a sentence of a one-year term of probation. Id. at 342-43. The Second Circuit

affirmed, finding that the district court did not abuse its discretion in considering Canova’s good

deeds. Id. at 359. The Second Circuit acknowledged that defendant’s service as a voluntary

firefighter and three instances of administering aid to three people in medical distress

demonstrated that helping people “was an instinctive part of his character.” Id.

         Courts outside this Circuit hold similarly. In Cooper, for example, the Third Circuit held

that a defendant’s good works warranted a downward departure from the Guidelines because, as

“hands-on personal sacrifices, which . . . had a dramatic and positive impact on the lives of

others,” they were “exceptional.” 394 F.3d at 177. There, the defendant was significantly

involved in helping young men in an underprivileged neighborhood in his city. Id. His work

involved coaching and mentoring high-school football players, founding a youth athletic

organization, and helping athletes apply to and pay for college. Id. In affirming the district

court’s non-incarceratory sentence for securities fraud, the court distinguished the defendant’s

acts from financial contributions to charity, finding that: “These are not the detached acts of

charity one might ordinarily expect from a wealthy business executive. They are, in a very real

way, hands-on personal sacrifices, which have had a dramatic and positive impact on the lives of

others.” Id. at 173-74, 177. Though the Guidelines recommended a range of 15 to 21 months in

prison, the court found that the trial court properly exercised its discretion in sentencing the

2
  The analysis for downward departures is similar to that for non-Guidelines sentences. Courts may depart
downward so that they have the “flexibility to permit individualized sentences when warranted by mitigating or
aggravating factors not taken into account in the establishment of general sentencing practices.” Departure and
Variance Primer, Office of General Counsel, U.S. Sentencing Commission, Nov. 2021 at 5,
https://www.ussc.gov/sites/default/files/pdf/training/primers/2021_Primer_Departure_Variance.pdf (quoting 28
U.S.C. § 991(b)(1)(A)). Similarly, courts have discretion to vary from the Guidelines after considering all the
factors set forth in 18 U.S.C. § 3553(a), including the individual history and characteristics of the defendant. Id. at
42-43; see also U.S.S.G. § 1B1.1 cmt. background.


                                                           22
           Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 28 of 39




defendant to three years’ probation with six months house arrest for securities fraud. Id. at 173-

74, 175.

       In another instructive case, United States v. Mehta, the court sentenced the defendant to

three years’ probation for tax evasion and mail fraud though the Guidelines recommended a

sentence of 18 to 24 months incarceration. 307 F. Supp. 2d at 270, 284. The court found that the

voluminous evidence of the defendant’s “extraordinary life” of “charitable and community

works” supported a downward departure from the Guidelines. Id. at 270-71. The court noted

that “the nature of Mehta’s service . . . that took the form of substantial amounts of time and

personal attention” that supported a non-incarceratory sentence. Id. at 271. The defendant’s

community service included helping those in need in the Boston area and within his religious

sect both in America and back in India. Id. Specifically, the court noted that the defendant

“provided personal support to members of his community and beyond, when family members

were sick or passed away, helped others to start a business, contributed to medications for others

who could not afford them, even helped with college tuition or mortgage payments.” Id. at 279-

80. The court found that this work went “far beyond writing checks” and instead involved

devoting “a considerable amount of his time” to helping others. Id. at 282.

       Mr. Dikshit has engaged in numerous similar charitable acts and good deeds. He has

remained steadfast in his pursuit of helping others and empowering his community, even while

attaining professional success and starting a family. His extensive and prolonged work with

underprivileged girls in Mumbai is exceptional. Indeed, Mr. Dikshit’s hands-on volunteer work

teaching young girls, raising money for underprivileged students, and creating a school from the

ground up have “had a dramatic and positive impact” on the hundreds of people. Cooper, 394

F.3d at 177. Additionally, Mr. Dikshit’s family and friends attest to the numerous ways he has




                                                23
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 29 of 39




gone out of his way to help others, from spending many hours preparing friends for job

interviews to providing financial assistance to strangers in times of dire need. These acts

demonstrate that generosity and compassion are “instinctive” to Mr. Dikshit’s character.

Canova, 412 F.3d at 359. While the Guidelines ranges in Canova, Cooper, and Mehta were

lower than Mr. Dikshit’s recommended range, we respectfully submit that those cases and Mr.

Dikshit’s charitable acts and good deeds, individual characteristics, and the immigration

consequences he faces (discussed below), support a non-incarceratory sentence.

       B.      Mr. Dikshit Does Not Pose a Risk of Recidivism

       Mr. Dikshit does not pose a risk of reoffending. He has never been accused of criminal

conduct before, and his early acceptance of responsibility and statements demonstrate his sincere

remorse and that he will not reoffend. Indeed, the Probation Office reported that because Mr.

Dikshit is “very remorseful for committing the instant offense,” he “appears to pose a low risk of

recidivism.” PSR at 27. The guilt of the offense has been “eating him alive” since before his

arrest, causing him to experience many sleepless nights. PSR ¶ 88. At his plea hearing, Mr.

Dikshit expressed his remorse for the offense and the effect it has had on his family, colleagues,

and industry. Plea Tr. at 18:14-21 (Dec. 15, 2021) [ECF No. 11].

       Mr. Dikshit’s acceptance of responsibility and remorse led him to enter his guilty plea

promptly. Shortly after committing the offense ending in September 2021, Mr. Dikshit began

contemplating turning himself in to authorities. He ran searches related to Rajat Gupta, a former

McKinsey employee who was convicted of insider trading in 2012, trying to find counsel to

consult about this decision. PSR ¶ 56. Mr. Dikshit discovered that Mr. Gupta was represented

by Kramer Levin, and he retained undersigned counsel shortly thereafter. While discussing the




                                                24
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 30 of 39




profound consequences of his offense with counsel and his family, Mr. Dikshit was arrested.

Mr. Dikshit promptly notified authorities that he intended to enter a guilty plea. PSR ¶ 73.

       In addition, Mr. Dikshit has already consented to a forfeiture and money judgment of

$455,017, the total amount of proceeds from the offense. See Consent Preliminary Order of

Forfeiture/Money Judgment, entered December 15, 2021 [ECF No. 10]. He similarly consented

to a judgment in the parallel civil action brought by the Securities Exchange Commission that

includes other punishments for the offense conduct. See SEC v. Dikshit, Judgment, 21-cv-9289-

JMF (Jan. 31, 2022) [ECF No. 11]. As part of that judgment, Mr. Dikshit agreed never to engage

in fraudulent or deceitful conduct related to the purchase or sale of securities again. Id.

       Further, the damage to Mr. Dikshit’s career and reputation ensure that he will never

reoffend. Mr. Dikshit’s case has been widely published, making it unlikely that he will be able

to gain employment in a similar position in the future. See United States v. Nesbeth, 188 F.

Supp. 3d 179, 194 (E.D.N.Y. 2016) (below-Guidelines probationary sentence sufficient where

defendant would not be able to pursue a teaching career as a result of her conviction). The loss

of career and income Mr. Dikshit has suffered as a result of the offense has also been punishing.

See United States v. Gaind, 829 F. Supp. 669, 671 (S.D.N.Y. 1993) (“Elimination of the

defendant’s ability to engage in similar or related activities—or indeed any major business

activity—for some time, and the substantial loss of assets and income . . . constitutes a source of

both individual and general deterrence.”), aff’d, 31 F.3d 73 (2d Cir. 1994).

       Further, the offense is an aberration in Mr. Dikshit’s life, which he has otherwise led with

honesty, commitment to community, and dedication to family. His conduct should therefore be

considered in the greater context of his life. Mr. Dikshit’s father, Vijay, best explains:

               I have seen the values that helped our family - hard work,
               kindness, generosity, honesty, and empathy – become deeply



                                                 25
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 31 of 39




               ingrained in Puneet. Hence, the circumstances under which I write
               this letter to you are not just out of character for Puneet, but alien
               to how he has lived his life and conducted himself since he was a
               child.

Exhibit A, V. Dikshit Ltr. at 1.

       The aberrational offense conduct, when balanced against the rest of Mr. Dikshit’s life and

character, supports a below-Guidelines sentence. The decision in United States v. Holzer is

instructive. There, the court issued a below-Guidelines sentence for a defendant who pled guilty

to insider trading. Sentencing Tr. at 18-19, United States v. Holtzer, 09-cr-470 (VM) (S.D.N.Y.

Sept. 17, 2009). Though the Guidelines range for the defendant was 12 to 18 months

imprisonment, the court found that a sentence of five years of probation, conditioned on

spending nine months in a residential reentry center was “sufficient but not greater than

necessary to comply with the purposes of sentencing” based, in part, on the fact the offense was

an aberration of an otherwise good life. Id. Specifically, the court noted that the defendant had a

“commendable” history of community service and pro bono work, “ha[d] no criminal history,

and that . . . his life outside of this case demonstrates that he is a good person who made a

terrible mistake.” Id. at 16-17 (internal quotations omitted).

       Similarly, a defendant’s aberrant conduct also formed the basis for a below-Guidelines

sentence in United States v. Toback, 01-CR-410 (RWS), 2005 WL 992004 (S.D.N.Y. Apr. 14,

2005). There, the court found that the defendant’s conduct in selling illegal drugs “seem[ed] to

be an aberration in his normally law-abiding life.” Id. at *5. The court noted that the defendant

quickly entered a guilty plea and immediately accepted responsibility for his conduct, and issued

a sentence of three years supervised release with ten months of home confinement, though the

Guidelines range was 10 to 16 months imprisonment. Id. at *3-4, 6. The court found that

downward departure was warranted because the defendant’s letters of support demonstrated “his



                                                 26
           Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 32 of 39




outstanding and reliable character, his devotion to his family, and his dedication to his business”

and that “the criminal conduct at hand spanned a short period of time, [and] involved minimal

planning.” Id. at *5.

       Like the defendants in Holzer and Toback, Mr. Dikshit is a first-time offender who pled

guilty to aberrational conduct. In light of the broader context of Mr. Dikshit’s life—marked by

kind acts, good deeds, and community service—coupled with the immigration consequences he

faces, we respectfully submit that a non-incarceratory sentence, coupled with disgorgement and

deportation, will satisfy the twin goals of punishment and deterrence set forth in 18 U.S.C. §

3553(a).

       C.      Enhancements Related to Gain Amount Overstate the Seriousness of the
               Offense

       Though insider trading is a serious offense and creates unfairness in investment markets,

“Congress has never treated it as a fraud on investors, the Securities Exchange Commission has

explicitly opposed any such legislation, and the Supreme Court has rejected any attempt to

extend coverage of the securities fraud laws on such a theory.” United States v. Gupta, 904 F.

Supp. 2d 349, 351-52 (S.D.N.Y. 2012). In insider trading cases, “the victims and their losses are

difficult if not impossible to identify,” so the offense level is enhanced based on the gain

resulting from the offense rather than a loss amount. U.S.S.G. § 2B1.4, cmt. background. As

Judge Rakoff has explained:

               In the eye of the law, Gupta’s crime was to breach his fiduciary
               duty of confidentiality to Goldman Sachs; or to put it another way,
               Goldman Sachs, not the marketplace, was the victim of Gupta’s
               crimes as charged. Yet the Guidelines assess his punishment
               almost exclusively on the basis of how much money his
               accomplice gained by trading on the information. At best, this is a
               very rough surrogate for the harm to Goldman Sachs.




                                                 27
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 33 of 39




Gupta, 904 F. Supp. 2d at 352. Section 2B1.1 enhancements “do not result from any reasoned

determination of how the punishment can best fit the crime, nor any approximation of the moral

seriousness of the crime.” United States v. Johnson, No. 16-CR-475-1 (NGG), 2018 WL

1997975, at *3 (E.D.N.Y. Apr. 27, 2018). Thus, “district judges can and should exercise their

discretion when deciding whether or not to follow the sentencing advice that the guideline

provides” when cases involve § 2B1.1 enhancements. Id. (quoting United States v. Corsey, 723

F.3d 366, 379 (2d Cir. 2013) (Underhill, J, concurring)). This is particularly so because there is

no traditional victim in an insider trading case. See Gupta, 904 F. Supp. 2d at 352. In this

regard, we note that GreenSky, McKinsey, and Goldman Sachs are not seeking restitution. See

PSR ¶¶ 60, 126.


       D.      The Collateral Consequences Mr. Dikshit Faces As a Non-Citizen Weigh in
               Favor of a Non-Incarceratory Sentence

       Courts must also consider the collateral effects of a sentence to “properly calibrate a ‘just

punishment.” United States v. Nesbeth, 188 F. Supp. 3d 179, 193 (E.D.N.Y. 2016) (quoting

United States v. Stewart, 590 F.3d 93, 141 (2d Cir. 2009)). When determining what sentence is

appropriate for a defendant, “a sentencing judge cannot ignore the additional penalties and

hardships that will attach as a result of conviction.” United States v. Chong, No. 13-CR-570,

2014 WL 4773978, at *6 (E.D.N.Y. Sept. 24, 2014).

       Mr. Dikshit will be treated differently from many other white-collar defendants because

he is not a United States citizen. Despite living in the United States lawfully for over a decade,

Mr. Dikshit is classified as an “alien.” That designation carries significant consequences.

       As a non-citizen, any sentence of incarceration would result in Mr. Dikshit spending

more days spent in jail than a similarly situated citizen, because non-citizens are ineligible to

serve any portion of their terms in a halfway house. Mr. Dikshit also faces an additional period


                                                 28
             Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 34 of 39




of detention with ICE prior to his removal. Further, Mr. Dikshit and his family will be uprooted

from the community they have lived in for over a decade and deported to India as a result of the

offense. Because Bhanu’s H1B visa is tied to Mr. Dikshit’s, his loss of employment will require

her to leave the United States upon its expiration, barring a change in her immigration status. As

a result, any sentence of incarceration would be atypical for Mr. Dikshit because his family

would have limited ability to visit him. Mr. Dikshit’s conviction will also result in his removal

from the country following any jail term. A typical white-collar defendant who has committed

the same offense would not face these consequences.

           We respectfully submit that the disparate conditions Mr. Dikshit would face if

imprisoned and the deportation consequences of his conviction warrant a non-incarceratory

sentence.

                   1.       Disparate Treatment

           As a non-citizen, Mr. Dikshit is classified as a “deportable alien” by the Federal Bureau

of Prisons (“BOP”). U.S. Dep’t of Justice, Fed. Bureau of Prisons Program Statement, Inmate

Security Designation and Custody Classification, P5100.08 (Sept. 12, 2006) at ch. 5, pp. 9, 12.3

First-time, non-violent offenders are ordinarily considered a minimum-security inmate eligible

for placement in a federal prison camp. Id. at ch. 1, p.2; ch. 5, p12. However, prisoners with a

“deportable alien” designation must instead be detained in at least a low-security facility. Id. at

ch. 5, pp. 9, 12 (emphasis added). While minimum-security facilities exclusively house non-

violent offenders with sentences under 10 years, low-security facilities house prisoners who have

committed violent offenses garnering prison terms of up to 20 years and who have exhibited

violent or threatening behavior. Id.



3
    PDF available at https://www.bop.gov/policy/progstat/5100_008.pdf.


                                                        29
             Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 35 of 39




           Because of his non-citizen status, Mr. Dikshit is not eligible to spend any portion of his

incarceration in a halfway house. Federal law requires that the BOP, “to the extent practicable,

ensure that a prisoner serving a term of imprisonment spends a portion of the final months of that

term (not to exceed 12 months), under conditions that will afford that prisoner a reasonable

opportunity to adjust to and prepare for the reentry of that prisoner into the community.” 18

U.S.C. § 3624(c)(1). This policy, however, does not apply to “deportable aliens,” who will not

be returning to their communities at the end of their terms. U.S. Dep’t of Justice, Fed. Bureau of

Prisons Program Statement, Change Notice, 7310.04 (Dec. 16, 1998) at 10.4 As a result, Mr.

Dikshit will serve more days of any term of incarceration inside a prison than similarly situated

citizen defendants.

           Through Mr. Dikshit has lawfully lived in the United States for over a decade, it is likely

he will be detained by ICE following any sentence of incarceration or house arrest, and would be

immediately taken into custody if this Court imposes a probationary sentence or supervised

release. See 8 U.S.C. § 1226(a)(1). Any alien convicted of insider trading like Mr. Dikshit is

subject to mandatory detainment. See 8 U.S.C. § 1226(c)(1)(B)-(C) (stating that the Attorney

General will detain aliens who have committed offenses covered in Section 1227(a)(2)(A) (i)-

(iii)); 8 U.S.C. § 1227(a)(2)(A)(i), (iii). Because Mr. Dikshit has pled guilty to insider trading,

he faces additional detainment in ICE custody following his sentence while removal proceedings

are commenced against him. As an ICE detainee, Mr. Dikshit would face deplorable conditions.

In an investigation of four ICE detention facilities, the OIG found “egregious violations of

detention standards” posing “significant health and safety risks.” Concerns about ICE Detainee

Treatment and Care at Four Detention Facilities, U.S. Dep’t of Homeland Security, Office of



4
    PDF available at https://www.bop.gov/policy/progstat/7310_004.pdf.


                                                        30
             Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 36 of 39




the Inspector General, Aug. 2016 at 3.5 This disparate treatment Mr. Dikshit faces as a non-

citizen constitutes additional punishment warranting a non-incarceratory sentence.

                    2.      Deportation

           Deportation of Mr. Dikshit and his family is a collateral consequence that further weighs

in favor of a non-incarceratory sentence. Mr. Dikshit has legally resided in the United States for

over a decade, growing both his family and career here. Because Mr. Dikshit entered the United

States on an H1B visa, he is subject to removal after sentencing, which will require him to return

to India. See PSR at 27. And further, because his wife’s residency is contingent on his visa, Mr.

Dikshit’s family, including his two children who are United States citizens, will be required to

leave the country as well unless her immigration status changes. After Mr. Dikshit’s sentence,

Bhanu, and their children will return to India, where they will reside with Bhanu’s parents. PSR

¶ 88. Accordingly, Mr. Dikshit would likely not be able to see his family during a term of

incarceration. Following his deportation, he will not be able to freely visit his extended family in

the United States or many of his friends who submitted letters on his behalf. See 8 U.S.C. §

1326(a)(2) (subjecting deported aliens to criminal penalties if they reenter the United States

without applying for readmission).

           “Deportation is experienced as, and popularly understood to be, a form of punishment.”

United States v. Chong, No. 13-CR-570, 2014 WL 4773978, at *6 (E.D.N.Y. Sept. 14, 2014)

(imposing a below-Guidelines sentence of time served for a drug offense, in part, because of

deportation); see also United States v. Yahaya, No. 18-CR-121, 2019 WL 6839945, at *4

(E.D.N.Y. Dec. 9, 2019) (term of time served (three days) and three years’ supervised release

was “appropriate” for a white-collar defendant despite Guidelines range of 51 to 63 months

because he would be deported and “his goal of bringing up his only child in the United States to

5
    PDF available at https://www.oig.dhs.gov/sites/default/files/assets/2019-06/OIG-19-47-Jun19.pdf.


                                                          31
         Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 37 of 39




seize on the promise of the American Dream [was] forever extinguished”). In Padilla v.

Kentucky, the Supreme Court explained:

               Our law has enmeshed criminal convictions and the penalty of
               deportation for nearly a century . . . And, importantly, recent
               changes in our immigration law have made removal nearly an
               automatic result for a broad class of noncitizen offenders. Thus,
               we find it most difficult to divorce the penalty from the conviction
               in the deportation context.

559 U.S. 356, 365-66 (2010) (affirming that a failure to advise on the immigration consequences

of sentencing constituted ineffective assistance of counsel under the Sixth Amendment).

Deportation is an especially severe consequence and is “an integral part—indeed, sometimes the

most important part—of the penalty that may be imposed on noncitizen defendants who plead

guilty to specified crimes.” Id. at 364. Therefore, when “determining what sentence is

‘sufficient, but not greater than necessary,’ to serve the needs of justice, a district court may take

into account the uncertainties presented by the prospect of removal proceedings and the impact

deportation will have on the defendant and his family.” United States v. Thavaraja, 740 F.3d

253, 262-63 (2d Cir. 2014). This “exile” that cuts off a defendant from his “established

community ties” is a “hardship [that] results in a more severe penalty” and lessens the need for

both general and specific deterrence. Chong, 2014 WL 4773978, at *8. As such, it warrants a

downward adjustment. Id.

       In United States v. Connolly, this Court issues a below-Guidelines sentence to a

defendant who was convicted at trial of conspiracy to commit wire fraud to manipulate the

LIBOR, in part, because of the disparate treatment he would receive as a non-citizen. See

Sentencing Tr. at 9, 90-94, No. 16-CR-370 (S.D.N.Y. Nov. 4, 2019). Recognizing that non-

citizen defendants are subject to both immigrant detention and deportation unlike their citizen

counterparts, Your Honor stated:



                                                  32
          Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 38 of 39




                  [F]or reasons I cannot comprehend, at the end of that term he could
                  not walk out the door and be picked up by [his attorney] and taken
                  to the airport. He would be treated like an illegal alien, and he
                  would be released into the custody of ICE, and at some point long
                  after my intended sentence had expired he would be deported.
                  And that’s not right . . . I can’t bring myself to impose a sentence
                  of incarceration in the United States.

Id. at 91-92. Though the Guidelines, including an intended loss amount of $2,613,214,

recommended a sentence of 57 to 71 months, Your Honor sentenced the defendant to nine

months of home confinement in his home country. Id. at 95. We respectfully submit that Mr.

Dikshit’s circumstances are even more compelling than those in Connolly. Mr. Dikshit pled

guilty, did not engage in a sophisticated conspiracy to manipulate the market, and has a long

history of community service; mitigating factors that were absent in Connolly. Accordingly, the

immigration consequences of Mr. Dikshit’s conviction (along with other mitigating factors)

warrants a non-incarceratory sentence.6




6
  To the extent the Court believes a term of confinement is necessary, the Court could similarly permit Mr. Dikshit
to serve a term of home confinement in India, were his wife and children will be.


                                                         33
          Case 1:21-cr-00760-CM Document 17 Filed 03/16/22 Page 39 of 39




V.       CONCLUSION

         We respectfully urge the Court to sentence Mr. Dikshit to a non-incarceratory sentence.

Such a sentence, considering Mr. Dikshit’s history, character, and good deeds, coupled with his

removal from the country following any sentence is “sufficient, but not greater than necessary”

to satisfy the sentencing coals set forth in 18 U.S.C. § 3553(a).

Dated:          New York, New York
                March 16, 2022


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                                                 34
